                Case 2:07-cr-00314-KJM Document 163 Filed 06/11/12 Page 1 of 2


1    KELLY BABINEAU, SBN 190418
     Attorney at Law
2
     901 H Street, suite 203
3    Sacramento CA 95814
     Tel: (916) 442-4948
4    Fax: (916) 442-8299
5    kbabineau@klblawoffice.net
     Attorney for JUAN MORALES
6
7
                                 IN THE UNITED STATES DISTRICT COURT
8
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,                      Case No.: 2:07-CR-00314LKK
11
12                        Plaintiff,
13            vs.                                   WAIVER OF DEFENDANT’S
14                                                  PRESENCE
     JUAN MORALES,
15
16                        Defendant
17            Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, defendant, Juan
18
     Morales, hereby waives the right to be resent in person in open court upon the hearing of
19
20   any motion or other proceeding in this case, including but not limited to, when the case is

21   set for trial, when a continuance is ordered, and when any other action is taken by the
22
     court before or after trial, specifically, appearances for any hearing regarding
23
     modification of conditions of supervised release, except upon arraignment, plea,
24
25   empanelment of jury and imposition of sentence.
26
27            Defendant hereby requests the Court to proceed during every absence which the

28   Court may permit pursuant to this waiver; agrees that defendant’s interests will be



     waiver of app sgnd                       -1-
     06/11/12
                Case 2:07-cr-00314-KJM Document 163 Filed 06/11/12 Page 2 of 2


1    deemed represented at all times by the presence of the defendant’s attorney, the same as
2
     if the defendant were personally present; and further agrees to be present in court ready
3
     for trail any day and hour the Court may fix in the defendant’s absence.
4
5
              The defendant further acknowledges being informed of the rights under Title 18
6
7    U.S.C. §§ 3161-3174 (Speedy Trial Act), and authorizes the defendant’s attorney to set

8    times and dates under that Act without the defendant’s personal presence.
9
10            The original signed copy of this waiver is being preserved by the attorney
11   undersigned.
12
     Dated: June 11, 2012                                         /s/ Juan Morales
13                                                                JUAN MORALES
14                                                                Defendant

15
              I agree and consent to my client’s waiver of appearance.
16
17
     Dated: June 11, 2012                                         /s/ Kelly Babineau
18                                                                KELLY BABINEAU
                                                                  Attorney for Defendant
19                                                                ALLA SAMCHUK
20
21
22   IT IS SO ORDERED.
23
             JUNE 11, 2012
     Dated: ____________                                          _______________________
24                                                                LAWRENCE K. KARLTON
25                                                                United States District Judge
26
27
28



     waiver of app sgnd                          -2-
     06/11/12
